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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



  Jane Doe 1, individually and on behalf of
  all others similarly situated,
                                                                    Case No. 1:22-CV-10019 (JSR)
     Plaintiff,

            v.

  JPMorgan Chase Bank, N.A.,

     Defendant.



        DECLARATION OF DAVID BOIES IN SUPPORT OF PLAINTIFF JANE
               DOE 1’S MOTION FOR CLASS CERTIFICATION
I, David Boies, declare as follows:

       1.         I am a member in good standing of the bar of the State of New York and am

admitted to practice before this Court. I am the Chairman and a Managing Partner of Boies Schiller

Flexner (“BSF”). I make this declaration on my own personal knowledge, and if called as a witness

to testify, I could and would testify competently to the following facts.

       2.         I submit this declaration in support of the motion filed by Jane Doe 1 for class

certification and approval of BSF as Class Counsel. My firm and I represent Class Representative,

Jane Doe 1, in the above-captioned action, and we respectfully request the Court approve our firm

as Class Counsel in this action.

       A. Relevant Firm Expertise

       3.         BSF has a strong record of successfully and diligently representing plaintiffs in

complex class action litigation. Recent cases in which BSF or its partners were lead or co-lead
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counsel include: In re Grupo Televisa Securities Litigation (1:18-cv-01979) (S.D.N.Y.), in which

the court granted preliminary approval of a settlement last month; In re Blue Cross Blue Shield

Antitrust Litigation, (2:13-cv-20000) (N.D. Ala.), an antitrust class action in which the Firm

achieved both what the court referred to as “historic” injunctive relief and a $2.7 billion award in

a settlement that received final approval last October; In re Takata Airbag Products Liability

Litigation (1:15-md-02599) (S.D. Fla.), which is still proceeding against certain defendants but in

which there has already been a recovery of more than 1.5 billion dollars; In re Halliburton

Securities Litigation (13-317), in which the firm won two appeals to the United States before

achieving a $100 million recovery. Other notable cases in which the Firm or its partners were lead

counsel include In re Auction House Antitrust Litig. (1:00-cv-00648) (S.D.N.Y.), in which the firm

achieved $512 million in an antitrust class action after prior interim lead counsel valued the case

at less than $100 million.

       4.      BSF has the resources and expertise to devote to this action, which requires dealing

with what I know to be very capable, aggressive, and well-financed lawyers representing

Defendant.

       5.      BSF has already expended, and will continue to expend, substantial time and

resources in actively and diligently litigating this action. I, along with my fellow partners Sigrid

McCawley and Andrew Villacastin and the rest of our litigation team, have already devoted more

than 1,500 hours and substantial resources in developing Doe’s case and undertaking substantial

fact discovery. The expenses that BSF has already incurred include the retention of expert

witnesses, consultants, and an e-discovery vendor. BSF also took a lead role in drafting Doe’s

opposition to Defendant’s motion to dismiss and arguing it before the Court, resulting in the Court

denying Defendant’s motion and allowing the matter to proceed through discovery. BSF has also



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conducted five depositions to date, and is currently reviewing the over 40,000 documents produced

by Defendant in order to further develop the class members’ claims.

       B. Team Members

       6.      The BSF team includes myself, Sigrid McCawley, Andrew Villacastin and twenty

other lawyers as well as a full support staff led by experienced paralegals.

       7.      David Boies: I personally served as co-lead counsel in cases such as In re Grupo

Televisa Securities Litigation (1:18-cv-01979) (S.D.N.Y.), In re Halliburton, In re Blue Cross Blue

Shield Antitrust Litigation (2:13-cv-20000) (N.D. Ala.), In re Takata Airbag Products Liability

Litigation (1:15-md-02599) (S.D. Fla.), In re Vitamins Antitrust Litigation (Nos. 99-7256, 99-

7281) (D.D.C.).

       8.      I, along with Ms. McCawley, have represented survivors of Jeffrey Epstein’s sex

trafficking enterprise since June 2014. We brought our first case on behalf of survivors against

Ghislaine Maxwell in 2015 and our first case against Jeffrey Epstein on behalf of survivors in

2016. We have also represented survivors in civil litigation against Epstein’s Estate after his death,

see Farmer v. Indyke, et al. (No. 1:19-cv-10474); Farmer v. Indyke, et al. (No. 1:19-cv-10475);

Helm v. Indyke, et al. (No. 1:19-cv-10476); Bryant v. Indyke, et al. (No. 1:19-cv-10479); Doe

1000 v. Indyke, et al. (No. 1:19-cv-10577), and numerous survivors who made applications to the

Epstein Victim’s Compensation Fund. We have also been representing an Epstein survivor in her

civil lawsuit against Prince Andrew, Giuffre v. Andrew (1:21-cv-6702) (S.D.N.Y.).

       9.      Sigrid McCawley:        Sigrid McCawley is a Managing Partner of BSF.             Ms.

McCawley’s experience and talents have been nationally recognized, having been named Litigator

of the Year by The American Lawyer, Top Ten Female Litigator in 2020–2022 by Benchmark

Litigation, a finalist for Lawyer of the Year by the American Lawyer in 2022 and a finalist for

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Attorney of the Year in Florida by Daily Business Review, and numerous other awards. Ms.

McCawley has handled some of BSF’s most challenging disputes, including securing a $100

million victory in the landmark case before the U.S. Supreme Court in In re Halliburton Securities

Litigation (No. 13-317).

       10.     Ms. McCawley’s experience in the representation of survivors of sexual abuse is

also well-documented. As noted above, Ms. McCawley has devoted years of her career to

advocating on behalf of survivors of Jeffrey Epstein, including in cases against Prince Andrew,

Ghislaine Maxwell, and the Epstein Estate. Ms. McCawley was recognized by Forbes Magazine

for her “iron clad interrogation skills” during the deposition of Ghislaine Maxwell. Her work

contributed to the arrest of Jeffrey Epstein, Ghislaine Maxwell, and Jean Luc Brunel, and resulted

in a successful resolution of claims for numerous Epstein survivors. Ms. McCawley’s work for

survivors of Jeffrey Epstein has appeared on Netflix, Lifetime, 60 Minutes, ABC, NBC, CBS,

CNN, and Fox, and Ms. McCawley has been further featured in The New York Times and The

Wall Street Journal.

       11.     Andrew Villacastin: Andrew Villacastin is a partner at BSF. In 2022, Mr.

Villacastin was recognized in the 2023 edition of Best Lawyers in America as Ones to Watch for

his work in commercial litigation. Mr. Villacastin also has significant experience litigating class

actions—he is currently defending a life insurance company in multiple class action lawsuits and

has represented a major bank in multidistrict LIBOR-related actions involving antitrust, securities,

RICO, Commodities Exchange Act, and state law claims. As mentioned above, Mr. Villacastin

has been a zealous advocate for survivors of Jeffrey Epstein for four years, and has worked on

many of the aforementioned Epstein-related cases alongside Ms. McCawley.




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       12.      I assure the Court that we have carefully read and understood the Court’s Orders

regarding the case and the role of Class Counsel.

       C. Exhibits in Support of Motion for Class Certification

       13.      Attached are true and correct copies of the following exhibits:

             a. Exhibit 1: Declaration of Bradley J. Edwards, dated April 28, 2023

             b. Exhibit 2: Report of Jane Khodarkovsky, dated March 1, 2023, and filed under seal

                pursuant to the Protective Order in this matter

             c. Exhibit 3: Excerpts of a deposition dated June 20, 2016, in Giuffre v. Maxwell, 15-

                CV-07433 (S.D.N.Y.), unsealed by the Second Circuit on August 9, 2019, No. 18-

                2868, ECF No. 283

             d. Exhibit 4: Complaint filed in C.L. v. Epstein, 10-cv-80447 (S.D. Fla.), ECF No. 1

             e. Exhibit 5: Complaint filed in Jane Doe 102 v. Epstein, 09-cv-80656 (S.D. Fla.)

             f. Exhibit 6: Palm Beach Police Department Incident Report dated February 17, 2006

             g. Exhibit 7: Article by Emily Shugerman dated October 6, 2019, entitled “Epstein

                Flaunted Girls After His Arrest at Hair Salon for the Stars”

             h. Exhibit 8: U.S. Department of Justice Victim Notification Letter to Virginia

                Giuffre, dated September 3, 2008

             i. Exhibit 9: FBI Form 302, Virginia Giuffre, dated July 5, 2013

             j. Exhibit 10: Palm Beach Police Department victim interview dated October 11,

                2005

             k. Exhibit 11: Amended Complaint filed in Doe 43 v. Epstein, et al., 17-cv-00616

                (S.D.N.Y.), ECF No. 45




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  l. Exhibit 12: Epstein Victims’ Compensation Program, Frequently Asked

     Questions, dated June 25, 2020

  m. Exhibit 13: Excerpts of the deposition of Rinaldo Rizzo dated June 10, 2016, in

     Giuffre v. Maxwell, 15-CV-07433 (S.D.N.Y.), unsealed by the Second Circuit on

     August 9, 2019, No. 18-2868, ECF No. 283

  n. Exhibit 14: Excerpts of the deposition of Alfredo Rodriguez dated July 29, 2009,

     in Doe No. 2 v. Epstein, No. 08-cv-80119 (S.D. Fla.), unsealed by the Second

     Circuit on August 9, 2019, No. 18-2868, ECF No. 283

  o. Exhibit 15: Complaint filed in Farmer v. Indyke, et al., 19-cv-10475 (S.D.N.Y.),

     ECF No. 1

  p. Exhibit 16: Article by Jane Musgrave dated January 23, 2010, entitled “Victims

     seeking sex offender’s millions see painful pasts used against them”

  q. Exhibit 17: Complaint filed in Doe 1000 v. Indyke, et al., 19-cv-10577 (S.D.N.Y.),

     ECF No. 1

  r. Exhibit 18: Article by James Beal dated November 23, 2019, entitled “New

     Epstein victim says he raped her and bragged about Prince Andrew as first pics of

     his ‘Paedo Island’ emerge”

  s. Exhibit 19: Complaint filed in Helm v. Indyke, et al., 19-cv-10476 (S.D.N.Y.), ECF

     No. 1

  t. Exhibit 20: Jeffrey Epstein’s 2007 Non-Prosecution Agreement

  u. Exhibit 21: Indictment in United States v. Epstein, No. 19-cr-490 (S.D.N.Y.)




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  v. Exhibit 22: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00001889, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  w. Exhibit 23: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00000314, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  x. Exhibit 24: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00000331, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  y. Exhibit 25: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00001134, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  z. Exhibit 26: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00001891, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  aa. Exhibit 27: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00002058, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  bb. Exhibit 28: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00010814, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal




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  cc. Exhibit 29: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00010807, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  dd. Exhibit 30: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00194062, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  ee. Exhibit 31: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00152756_R, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  ff. Exhibit 32: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00194390, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  gg. Exhibit 33: Document produced by JPMC, bates stamped JPM-SDNYLIT-

     00127953, designated confidential by JPMC pursuant to the Protective Order in

     this matter and filed under seal

  hh. Exhibit 34: Exhibit 6 of the deposition of Mary Casey dated April 7, 2023,

     designated confidential by JPMC pursuant to the Protective Order in this matter

     and filed under seal

  ii. Exhibit 35: Exhibit 7 of the deposition of Mary Casey dated April 7, 2023,

     designated confidential by JPMC pursuant to the Protective Order in this matter

     and filed under seal




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   jj. Exhibit 36: Excerpts of the deposition of Plaintiff Jane Doe 1 dated March 3, 2023,

       designated confidential pursuant to the Protective Order in this matter and filed

       under seal

   kk. Exhibit 37: Excerpts of the deposition of Det. Joseph Recarey dated June 21, 2016,

       in Giuffre v. Maxwell, 15-CV-07433 (S.D.N.Y.), unsealed by the Second Circuit on

       August 9, 2019, No. 18-2868, ECF No. 283

   ll. Exhibit 38: Epstein Victims’ Compensation Program, Protocol, dated May 29,

       2020

   mm.         Exhibit 39: Sworn Statement of Juan Alessi, dated November 21, 2005

   nn. Exhibit 40: Jeffrey Epstein’s 97-page book of contacts (“Black Book”)

   oo. Exhibit 41: Article by Michele Dargan dated March 11, 2011, entitled “Jeffrey

       Epstein address book 'Holy Grail’ of famous names”

   pp. Exhibit 42: Transcript from proceedings before Hon. Richard M. Berman dated

       August 27, 2019, in United States v. Epstein, No. 19-cr-490 (S.D.N.Y.)

   qq. Exhibit 43: Report of Kimberly Mehlman-Orozco, dated April 13, 2023, and filed

       under seal pursuant to the Protective Order in this matter

   rr. Exhibit 44: Document produced by Plaintiff Jane Doe 1, bates stamped

       JDoe_JPMC_008040

   ss. Exhibit 45: Document produced by Plaintiff Jane Doe 1, bates stamped

       JDoe_JPMC_000018, designated confidential pursuant to the Protective Order in

       this matter and filed under seal



I declare under penalty of perjury that the foregoing is true and correct.



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Dated: April 28, 2023                      Respectfully Submitted,


                                           By: /s/ David Boies

                                           David Boies
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                                           New York, New York
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